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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:06CR376
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
LEONA COLE,                                  )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s motion for leave to file a

successive § 2255 motion (Filing No. 211) and motion for copies (Filing No. 212).

Successive § 2255 Motion

       A successive § 2255 motion may only be filed if it has been certified by a panel of

the Eighth Circuit Court of Appeals, and a certification only may be issued in the following

rare circumstances:

       (1)    newly discovered evidence that, if proven and viewed in light of the
              evidence as a whole, would be sufficient to establish by clear and
              convincing evidence that no reasonable factfinder would have found
              the movant guilty of the offense; or
       (2)    a new rule of constitutional law, made retroactive to cases on
              collateral review by the Supreme Court, that was previously
              unavailable.

28 U.S.C. § 2255(h).

       The motion is not properly before this Court and must be presented to the Eighth

Circuit Court of Appeals under 28 U.S.C. § 2244. 28 U.S.C. § 2255(h). Therefore, the

Defendant’s motion for a transcript is denied.

Copies

       The Defendant apparently also requests certain court documents, including the

sentencing transcript that has not been prepared. No § 2255 motion is pending before this
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Court, and therefore the Court may not consider providing court documents to the

Defendant without cost. 28 U.S.C. § 2250.

                                      CONCLUSION

       The Defendant’s motions are denied, and the Defendant is advised that no further

relief is available in this Court.

       IT IS ORDERED:

       1.      The Defendant’s motion for leave to file a successive § 2255 motion (Filing

               No. 211) is denied; and

       2.      The Defendant’s motion for copies (Filing No. 212) is denied.

       DATED this 30th day of September, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge




                                             2
